                                       Case 18-21590-AJC                        Doc             Filed 11/07/19        Page 1 of 9
   Fill in this information to identify the case:

Debtor 1                 Alfredo Lopez
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Florida (Miami)
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             18­21590
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                         12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                                13
                                                                                                      Court claim no. (if known): _______________________
 JPMorgan Chase Bank, National Association




                                                                                                      Date of payment change:
                                                                                                      Must be at least 21 days after date
                                                                                                      of this notice                            12/01/2019
                                                                                                                                                _____________


                                                                                                      New total payment:
                                                                                                                                                 1671.27
                                                                                                                                                $________________
                                                                                                      Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      2 ____
                                                                    ____ 0 ____
                                                                            8 ____
                                                                                8

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

               No
            
            ✔   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                                           925.53
                Current escrow payment: $ _________________                                                                           772.24
                                                                                                                New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                         New interest rate: __________________%

                Current principal and interest payment: $ __________________                       New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
             ✔
                 No
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:



                      Current mortgage payment: $ _________________                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                                 page 1
                     Alfredo Lopez                                                                          18­21590
      Debtor 1                    Case    18-21590-AJC        Doc        Filed 11/07/19
                     ________________________________________________________
                     First Name      Middle Name    Last Name
                                                                                            Page
                                                                                     Case number        2 ______________________
                                                                                                 (if known) of  9

 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Bubba Fangman
      ______________________________________________________________
      Signature
                                                                                      11/04/2019
                                                                                Date _______________




 Print:______________________________________________________________
        Bubba Fangman                                                            Vice President
                                                                                ____________________________________________________________
        First Name                Middle Name         Last Name                 Title


 Company JPMorgan Chase Bank, N.A.
         ____________________________________________________________

 Address    Chase Records Center Attn: Correspondence Mail
            _____________________________________________________________
            Number                    Street

            700 Kansas Lane, Mail Code LA4-5555
            _____________________________________________________________
            Address 2

             Monroe                                  LA      71203
            _____________________________________________________________
              City                                      State        ZIP Code



                     866-243-5851                                                PCN_Escalations@chase.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
                           Case 18-21590-AJC               Doc       Filed 11/07/19      Page 3 of 9
                     UNITED STATES BANKRUPTCY COURT
                                                Southern District of Florida (Miami)


                                                   Chapter 13 No. 18-21590
                                                   Judge: A. Jay Cristol

In re:
Alfredo Lopez
                                          Debtor(s).

                                          CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before November 08, 2019 via filing with the US
Bankruptcy Court's CM ECF system and/or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid


Debtor:                            By U.S. Postal Service First Class Mail Postage Prepaid
                                    Alfredo Lopez
                                    3030 NW 90th Street

                                    Miami FL 33147-3448



                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Debtor’s Attorney:                 By U.S. Postal Service First Class Mail Postage Prepaid
                                    Robert Sanchez, Esq
                                    Attorney
                                    355 W 49 St.

                                    Hialeah FL 33012


                                   By U.S. Postal Service First Class Mail Postage Prepaid
                                    N/A




Trustee:                           By U.S. Postal Service First Class Mail Postage Prepaid
                                    Nancy K. Neidich
                                    www.ch13miami.com
                                    POB 279806

                                    Miramar FL 33027

                                                          _______________________________________________
                                                          /s/Bubba Fangman
                                                          Vice President
                                                          JPMorgan Chase Bank, N.A.
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 4 of 9
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 5 of 9
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 6 of 9
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 7 of 9
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 8 of 9
Case 18-21590-AJC   Doc   Filed 11/07/19   Page 9 of 9
